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 7

 8                               UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                     OAKLAND DIVISION
11
     WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
12   and FACEBOOK, INC., a Delaware
     corporation,                                 DEFENDANTS NSO GROUP
13                                                TECHNOLOGIES LIMITED
                  Plaintiffs,                     AND Q CYBER TECHNOLOGIES
14                                                LIMITED’S ADMINISTRATIVE
           v.                                     MOTION TO CONSIDER WHETHER
15                                                ANOTHER PARTY’S MATERIAL
     NSO GROUP TECHNOLOGIES LIMITED               SHOULD BE SEALED
16   and Q CYBER TECHNOLOGIES LIMITED,
17                Defendants.
                                                  Action Filed: 10/29/2019
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     DEFENDANTS’ MOTION TO CONSIDER                                   Case No. 4:19-cv-07123-PJH
     WHETHER ANOTHER PARTY’S
     MATERIAL SHOULD BE SEALED
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 1   TO THE COURT AND PLAINTIFFS AND THEIR COUNSEL OF RECORD:
 2          PLEASE TAKE NOTICE that pursuant to Civil Local Rules 7-11 and 79-5(f), Defendants
 3   NSO Group Technologies Limited and Q Cyber Technologies Limited (“Defendants”) move the
 4   Court to consider whether certain portions of and exhibits attached to the parties’ Joint Letter Brief
 5   Regarding Defendants’ Motion to Compel Responses to NSO’s Fifth and Sixth Sets of Requests
 6   for Production of Documents and Second Set of Interrogatories (the “Joint Letter Brief”) should
 7   be sealed. Unredacted versions of the Joint Letter Brief and the Exhibits to the Joint Letter Brief
 8   are attached as Exhibits A and 3, 4, 5, and 6 to the declaration of Aaron S. Craig filed currently
 9 herewith.

10          The Joint Letter Brief makes reference to and describes documents produced by or
11 referencing materials designated by Plaintiffs WhatsApp LLC, f/k/a WhatsApp Inc.

12   (“WhatsApp”), and Meta Platforms, Inc., f/k/a Facebook, Inc. (“Facebook” and, collectively,
13 “Plaintiffs”) that Plaintiffs have designated as “Highly Confidential - Attorney’s Eyes Only”

14   under the Stipulated Protective Order (Dkt. No. 132).             Defendants have attached these
15   documents as Exhibits 3, 4, 5, and 6 to the Joint Letter Brief.            Accordingly, Defendants
16   move the Court to consider whether Exhibits 3, 4, 5, and 6 to the Joint Letter Brief, and the
17   references to those exhibits in the Joint Letter Brief (Craig Decl. Exh. A) should be sealed.
18          Defendants take no position as to whether these materials or information derived from
19 these materials satisfy the requirements for sealing.                 They reserve the right to
20   challenge any confidentiality designations and to oppose any statement by Plaintiffs in
21   accordance with Civil Local Rule 79-5(f)(4).
22          For the reasons set forth above, Defendants respectfully request that the Court permit
23   the unredacted Joint Letter and Exhibits 3, 4, 5, and 6 to be conditionally filed under seal.
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      DEFENDANTS’ MOTION TO CONSIDER                    1                       Case No. 4:19-cv-07123-PJH
      WHETHER ANOTHER PARTY’S MATERIAL
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 1   DATED: September 20, 2024                  KING & SPALDING LLP
 2

 3                                              By: /s/ Aaron S. Craig
                                                    JOSEPH N. AKROTIRIANAKIS
 4
                                                    AARON S. CRAIG
 5
                                                   Attorneys for Defendants NSO GROUP
 6                                                 TECHNOLOGIES LIMITED and Q
                                                   CYBER TECHNOLOGIES LIMITED
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      DEFENDANTS’ MOTION TO CONSIDER        2                      Case No. 4:19-cv-07123-PJH
      WHETHER ANOTHER PARTY’S
      MATERIAL SHOULD BE SEALED
